869 F.2d 594Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Carl Howard SHIPP, Sr., Plaintiff-Appellant,v.James DUNNING, Sheriff of the City of Alexandria;  Lt.Campbell;  Sgt. Rim, Defendants-Appellees.
    No. 88-6851.
    United States Court of Appeals, Fourth Circuit.
    Submitted:  Dec. 30, 1988.Decided:  Feb. 13, 1989.Rehearing Denied March 3, 1989.
    
      Carl Howard Shipp, Sr., appellant pro se.
      Conrad Moss Shumadine, Laura Jayne Holland (Willcox &amp; Savage, PC), for appellees.
      Before MURNAGHAN and WILKINSON, Circuit Judges, and BUTZNER, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      Carl Howard Shipp, Sr., appeals from the district court's order denying relief under 42 U.S.C. Sec. 1983.  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  Shipp v. Dunning, C/A No. 88-51-N (E.D.Va. Oct. 25, 1988).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    
      2
      AFFIRMED.
    
    